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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 Asuris Northwest Health; Blue Cross and
 Blue Shield of Kansas City; Cambia Health
 Solutions, Inc.; Regence BlueShield of Idaho,          Case No. 1:20-cv-4940
 Inc.; Regence BlueCross and BlueShield of
 Oregon; Regence BlueCross and BlueShield               consolidated with
 of Utah; and Regence BlueShield of
 Washington,                                            Case No. 1:20-cv-1853
                                                        Case No. 1:20-cv-1929
        Plaintiffs,                                     Case No. 1:20-cv-3332
                                                        Case No. 1:20-cv-4738
                      v.

 Walgreen Co. and Walgreens Boots                       Honorable Virginia M. Kendall
 Alliance, Inc.,                                        Magistrate Judge Sheila M. Finnegan
        Defendants.




   DEFENDANTS WALGREEN CO.’S & WALGREENS BOOTS ALLIANCE, INC.’S
              MOTION TO DISMISS CASE NO. 1:20-CV-4940
                UNDER FED. R. CIV. P. 12(B)(7) & 12(B)(6)


       Pursuant to Rules 12(b)(7) and 12(b)(6) of the Federal Rules of Civil Procedure and for the

reasons set forth in the Memorandum in Support of Defendants Walgreen Co.’s & Walgreens

Boots Alliance, Inc.’s Motion to Dismiss Case No. 1:20-cv-4940 under Fed. R. Civ. P. 12(b)(7)

and 12(b)(6), Defendants Walgreen Co. (“Walgreens”) and Walgreens Boots Alliance, Inc.

(“WBA,” and together with Walgreens, “Defendants”) respectfully move this Court to dismiss all

counts of Plaintiffs’ Complaint (1:20-cv-4940, Dkt. No. 1) for failure to join a party under Rule

19 and for failure to state a claim upon which relief can be granted.




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       WHEREFORE, Defendants Walgreens and WBA respectfully request that this Court

dismiss all counts of Plaintiffs’ Complaint with prejudice and grant such other and further relief

as this Court deems just and proper.



Dated: September 29, 2020                     Respectfully submitted,




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                                CERTIFICATE OF SERVICE

       I, Charles D. Zagnoli, hereby certify that Defendants Walgreen Co.’s & Walgreens Boots

Alliance, Inc.’s Motion to Dismiss Case No. 1:20-cv-4940 under Fed. R. Civ. P. 12(b)(7) &

12(b)(6) was electronically filed on September 29, 2020, and will be served electronically via the

Court’s ECF Notice system upon the registered parties of record.



                                              /s/ Charles D. Zagnoli

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